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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.
                                             Case No. 11-cr-64-02/03-SM

Cezar Iulian Butu and Iulian Dolan,
      Defendants

                                    ORDER


       Defendant Iulian Dolan has filed an Assented to Motion to Continue the final

pretrial conference and trial for 60 days, which motion is granted (document no.

21).    Trial has been rescheduled for the March 2012 trial period.       Defendant

Dolan shall file a waiver of speedy trial rights not later than December 27, 2011.

On the filing of such waiver, his continuance shall be effective.



       The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective
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preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference is rescheduled for March 9, 2012 at 11:30 a.m.

      Jury selection will take place on March 20, 2012 at 9:30 a.m.



      SO ORDERED.



                                      _________________________
                                          Steven J. McAuliffe
                                          U.S. District Judge

December 16, 2011

cc:   Michael C. Shklar, Esq.
      Jonathan R. Saxe, Esq.
      Arnold H. Huftalen, AUSA
      U.S. Marshal
